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                              NOTE: CHANGES MADE BY THE COURT
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  9                        UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
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 12    LISA KIM, individually and on behalf    Case No. CV 18-03093 JFW (AS)
       of all others similarly situated,
 13                                            Hon. John F. Walter
                      Plaintiff,
 14                                            STATEMENT OF DECISION
             vs.
 15
       TINDER, INC., a Delaware
 16    corporation; MATCH GROUP, LLC,
       a Delaware limited liability company;
 17    MATCH GROUP, INC., a Delaware
       corporation; and DOES 1 through 10,
 18    inclusive, and each of them,
 19                   Defendants.
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                                                               STATEMENT OF DECISION
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  1                              STATEMENT OF DECISION
  2   I.    FACTUAL AND PROCEDURAL HISTORY
  3         A.     Factual Background
  4         Defendants Tinder, Inc., Match Group, LLC, and Match Group, Inc.’s
  5   (collectively, “Tinder”) own and operate a free, smartphone-based dating app called
  6   Tinder. (Declaration of Jonathan Badeen (“Badeen Decl.”), ¶¶ 2-3.) The app
  7   displays profiles of other users and allows a user to swipe right on another user’s
  8   profile to express interest or left to express disinterest. (Id., ¶ 2.) In March 2015,
  9   Tinder released a suite of premium features called Tinder Plus that is available for a
 10   monthly fee. (Id.)
 11         Tinder requires a user to create an account before accessing any feature of the
 12   app. (Badeen Decl., ¶ 4.) Permission to create an account and use the app has, in
 13   turn, always been conditioned on the user’s agreement to the Terms of Use (“TOU”).
 14   (Id.) The TOU has always been available for review any time within the app. (Id.)
 15         Since 2014, the TOU has included an arbitration agreement that requires all
 16   disputes (except small-claims matters) arising out of or relating to the TOU or
 17   Tinder’s services to be resolved through binding arbitration, and waives any right to
 18   participate in a class or representative action:
 19                Arbitration Agreement. The exclusive means of
 20                resolving any dispute or claim arising out of or relating to
 21                this Agreement (including any alleged breach thereof) or
 22                the     Service   shall   be   BINDING    ARBITRATION
 23                administered by the American Arbitration Association.
 24                The one exception to the exclusivity of arbitration is that
 25                you have the right to bring an individual claim against the
 26                Company in a small-claims court of competent jurisdiction.
 27                But whether you choose arbitration or small-claims court,
 28                you may not under any circumstances commence or
                                                  1                 STATEMENT OF DECISION
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  1                maintain against the Company any class action, class
  2                arbitration, or other representative action or proceeding.
  3   (Badeen Decl., ¶ 5 and Ex. 1, ¶ 18, Ex. 2, ¶ 19 (emphasis in original).)
  4         Plaintiff created a Tinder account on October 10, 2013. (Badeen Decl., ¶ 7.)
  5   On April 13, 2015, Plaintiff created a second account. (Id.) On July 31, 2015, Tinder
  6   added a disclosure to its login screen that informed users that by continuing to use
  7   the service, they were agreeing to Tinder’s TOU. (Id., ¶ 6.) The screen stated that
  8   by tapping Log In, the user agrees to the TOU. The disclosure was directly above
  9   the Log In button and provided a clear hyperlink in the disclosure to the then-current
 10   TOU. (Id., Ex. 3.)
 11         On February 21, 2017, Plaintiff purchased a subscription to Tinder Plus.
 12   (Badeen Decl., ¶ 7.) On February 23, 2017 and March 4, 2017, Plaintiff tapped to
 13   log in to her account. (Id.)
 14         B.     Procedural History
 15         On April 12, 2018, Plaintiff filed her Complaint, alleging a single cause of
 16   action for violation of the Unruh Civil Rights Act, Cal. Civ. Code §§ 51 et seq. [Dkt.
 17   No. 1.] On June 11, 2018, Tinder filed its Motion to Compel Arbitration or Stay
 18   Under Colorado River Abstention (“Motion”). [Dkt. No. 24.] On June 22, 2018,
 19   Plaintiff filed a First Amended Complaint (“FAC”), which added a cause of action
 20   for violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§
 21   17200 et seq. [Dkt No. 30.] On June 25, 2018, Plaintiff filed an Opposition to
 22   Tinder’s Motion, and Tinder filed a Reply on July 2, 2018. [Dkt. Nos. 32 and 33.]
 23   II.   LEGAL STANDARD
 24         Tinder’s arbitration agreement -- addressed in detail below -- provides that it
 25   is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”). (Badeen
 26   Decl., Ex. 1, ¶ 18, Ex. 2, ¶ 19.) An FAA choice-of-law provision in an arbitration
 27   agreement is enforceable. Brennan v. Opus Bank, 796 F.3d 1125, 1129-31 (9th Cir.
 28   2015). Moreover, the FAA governs this case even without a choice-of-law provision
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  1   because Tinder’s TOU “evidenc[es] a transaction involving commerce.” 9 U.S.C. §
  2   2; see Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir.
  3   2000).
  4          “The FAA provides that any arbitration agreement within its scope ‘shall be
  5   valid, irrevocable, and enforceable.’” Chiron, 207 F.3d at 1130 (quoting 9 U.S.C. §
  6   4). On a motion to compel arbitration, a district court’s role is limited to determining
  7   whether a valid agreement to arbitrate exists and—unless the question is
  8   contractually delegated to the arbitrator -- determining whether the agreement
  9   encompasses the parties’ dispute. See id.; Brennan, 796 F.3d at 1132 (“a court must
 10   enforce an agreement that . . . clearly and unmistakably delegates arbitrability
 11   questions to the arbitrator”). The FAA “leaves no place for the exercise of discretion
 12   by the district court.” Dean Witter Reynolds Inc. v. Byrd, 470 U.S. 213, 218 (1985).
 13   Rather, “the [FAA] requires the court to enforce the arbitration agreement in
 14   accordance with its terms.” Chiron, 207 F.3d at 1130.
 15   III.   DISCUSSION
 16          A.    Plaintiff Consented to the TOU, and Her Consent Is Binding.
 17          There are three generally recognized methods of obtaining consent to terms of
 18   use: clickwrap, browsewrap, and a hybrid known as “browsewrap-that-resembles-
 19   clickwrap” or “sign-up wrap.” Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1175-
 20   76 (9th Cir. 2014). In a sign-up wrap agreement, the consumer must click an “I
 21   agree” box or otherwise clearly manifest consent to the terms of use, while the terms
 22   themselves are accessible via hyperlink. Id. at 1176-77. Tinder uses a sign-up wrap.
 23   Plaintiff consented to the TOU by tapping the Tinder Log In button directly below a
 24   disclosure that clearly explained that doing so constituted agreement to the TOU,
 25   which itself was accessible via a hyperlink in the disclosure. (See Badeen Decl., ¶
 26   6.)
 27          This method of consent is fully enforceable. See Nguyen, 763 F.3d at 1177;
 28   Graf v. Match.com, LLC, 2015 WL 4263957, at *4 (C.D. Cal. July 10, 2015). In
                                                 3                    STATEMENT OF DECISION
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  1   addition, Tinder provided sufficient evidence that Plaintiff consented to the TOU
  2   (and thus, the TOU’s arbitration agreement) through this method. Tinder provided a
  3   declaration with documentary exhibits establishing that, on multiple occasions after
  4   July 31, 2015, Plaintiff logged in to her Tinder account through a login screen on her
  5   phone which stated that tapping the Log In button would constitute consent to the
  6   TOU (and thus the TOU’s arbitration agreement). On each occasion, the screen
  7   provided a prominent hyperlink to the TOU, which Plaintiff was free to review if she
  8   desired.
  9          In light of Tinder’s evidence that Plaintiff consented to the arbitration
 10   agreement, the burden shifted to Plaintiff to affirmatively rebut such evidence. See
 11   Sundquist v. Ubiquity, Inc., 2017 WL 3721475, at **2-3 (S.D. Cal. Jan. 17, 2017).
 12   Plaintiff failed to do so. Instead, Plaintiff argued that Tinder should be required to
 13   provide additional evidence regarding her login, and made a vague request for
 14   unspecified discovery. However, vague requests to pursue unspecified discovery are
 15   insufficient as a matter of law to defeat a motion to compel arbitration. See, e.g.,
 16   Hodsdon v. DirecTV, LLC, 2012 WL 5464615, at *8 (N.D. Cal. Nov. 8, 2012)
 17          Accordingly, the Court concludes that Plaintiff accepted, and is bound by, the
 18   arbitration agreement.
 19          B.     Issues of Arbitrability Were Delegated to the Arbitrator.
 20          The arbitration agreement states that claims or disputes between the parties
 21   shall be determined in arbitration administered by the American Arbitration
 22   Association (“AAA”). (Badeen Decl., Ex. 1, ¶ 18, Ex. 2, ¶ 19.) The AAA Rules
 23   state that the question of arbitrability is for the arbitrator -- and, thus, not for the court.
 24   (See Request for Judicial Notice (“RJN”), Ex. 1, R-14(a).)1 Where, as in this case,
 25   an arbitration agreement incorporates AAA Rules, a provision in the Rules delegating
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             The Court grants Tinder’s Request for Judicial Notice.
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                                                     4                     STATEMENT OF DECISION
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  1   the question of arbitrability to the arbitrator is enforceable.               Brennan,
  2   796 F.3d 1125.
  3         Accordingly, the Court need not, and should not, determine questions of
  4   arbitrability, such as whether Plaintiff’s claims are within the scope of the parties’
  5   arbitration agreement2 because those determinations have been properly delegated to
  6   the arbitrator for determination.
  7         C.     This Case Is Subject To Arbitration.
  8         In her Opposition, Plaintiff, relying heavily on McGill v. Citibank, N.A., 2 Cal.
  9   5th 945 (2017), argues that this dispute is not subject to arbitration. The Court
 10   disagrees for three reasons: (i) Plaintiff is seeking a private, not public, injunction;
 11   (ii) the arbitration agreement does not bar claims for injunctive relief, public or
 12   otherwise; and (iii) the so-called Broughton-Cruz rule is invalid.
 13                1.     Plaintiff Is Not Seeking a Public Injunction.
 14         In McGill, the California Supreme Court held that a provision in a contract that
 15   waives the statutory remedy of public injunctive relief is unenforceable. A public
 16   injunction affects the public as a whole, whereas a private injunction affects only an
 17   individual or a limited section of the public. McGill, 2 Cal. 5th at 955. The dispute
 18   in this case concerns whether Tinder may charge a higher price for access to its
 19   optional premium features of its app to users who are at least thirty years of age. In
 20   the UCL claim alleged in her FAC, Plaintiff seeks an injunction that would prevent
 21   Tinder from basing the price for those features, known as Tinder Plus, on this age
 22   distinction. An injunction that purports to control only the price charged to users of
 23   Tinder’s dating app who wish to subscribe to Tinder Plus and are age 30 or over is
 24   clearly one that would not affect the public at large and, therefore, would only qualify
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             It is nonetheless clear that the arbitration agreement encompasses the claims
 27   at issue in this case because Plaintiff agreed to arbitrate “any dispute or claim
      arising out of or relating to this Agreement (including any breach thereof) or the
 28   Service . . . . “ (Badeen Decl., ¶ 5 and Ex. 1 at ¶ 19.)
                                                 5                    STATEMENT OF DECISION
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  1   as a private injunction. See, e.g., Croucier v. Credit One Bank, N.A., 2018 WL
  2   2836889 (S.D. Cal. June 11, 2018).
  3                2.     The Arbitration Agreement Does Not Bar Claims for
                          Injunctive Relief, Public or Otherwise.
  4
            Plaintiff argues that the parties’ arbitration agreement is unenforceable, in
  5
      whole or in part, because it would preclude her from seeking a public injunction. The
  6
      Court disagrees. Plaintiff is free to pursue her claim for UCL injunctive relief --
  7
      whether it qualifies as public or private -- in arbitration.
  8
  9         The arbitration agreement here, unlike in McGill, does not deprive Plaintiff of
 10   any statutory remedy. Tinder’s agreement states that an arbitrator may award any
 11   relief available in a court of law -- including a public injunction. (See Badeen Decl.,
 12   Ex. 1, § 18.b; Ex. 2 § 19 (“The arbitrator can grant any relief that a court can . . .”).)
 13   The fact that Plaintiff may not seek a public injunction (or any other relief) as part of
 14   a class or representative action is irrelevant.
 15                3.     The So-Called Broughton-Cruz Rule Is Invalid.
 16         Plaintiff argues she cannot be compelled to seek public injunctive relief in
 17   arbitration because the so-called Broughton-Cruz rule entitles her to seek such relief
 18   in a court of law.3 However, the Broughton-Cruz rule was rendered invalid by the
 19   U.S. Supreme Court’s decision in AT&T Mobility LLC v. Concepcion,
 20   563 U.S. 333 (2011), which held that a state-law rule that specifically restricts the
 21   scope of arbitration agreements is preempted by the Federal Arbitration Act, 9 U.S.C.
 22   § 1 et seq. (“FAA”). See Ferguson v. Corinthian Colleges, Inc., 733 F.3d 928, 937
 23   (9th Cir. 2013) (“We therefore hold that the FAA preempts the Broughton–Cruz
 24   rule.”); Nelsen v. Legacy Partners Residential, Inc., 207 Cal. App. 4th 1115, 1136
 25   (2012), as modified on denial of reh'g (Aug. 14, 2012).
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            Broughton refers to Broughton v. Cigna Healthplans of Calif., 21 Cal. 4th 1066
      (1999), and Cruz refers to Cruz v. PacifiCare Health Sys., Inc., 30 Cal. 4th 303
 28   (2003).
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  1   IV.    CONCLUSION
  2          For all the foregoing reasons, the Court GRANTS Tinder’s Motion and orders
  3   the parties to arbitration.4 The Court also STAYS this action pending the outcome
  4   of the arbitration. The parties shall file a joint status report with the Court every 120
  5   days regarding the status of the arbitration, with the first joint status report to be filed
  6   on November 8, 2018. The Scheduling Conference set for July 23, 2018, at 1:15 p.m.
  7   is VACATED.
  8
             IT IS SO ORDERED.
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      Dated: July 12, 2018               _________________________________
 11                                           Honorable John F. Walter
 12                                           United States District Court Judge

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            Because the Court has ordered the parties to arbitration, the Court need not
 28   address the issue of a stay under Colorado River abstention.
                                                   7                     STATEMENT OF DECISION
